Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13   PageID.251   Page 1 of 17




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 MICHAEL A. GREENE,

       Plaintiff,
                                             No. 2:12-cv-13161
 v
                                             HON. DAVID M. LAWSON
 PAMELA ANDERSON, Individually and in
 her Official Capacity, SYLVIA JAMES,        MAG. R. STEVEN WHALEN
 DEBORAH GREENE, MARCIA McBRIDE
 [sic] and MILTON SPOKOJNY, Individually
 and Jointly and Severally,

       Defendants.

 Ben M. Gonek (P43716)                       Brittany A. Campbell (P75152)
 Attorney for Plaintiff                      Jeanmarie Miller (P44446)
 Giamarco, Mullins & Horton, P.C.            Assistant Attorneys General
 101 W. Big Beaver Road, 10th Floor          Attys for Defs. McBrien & Greene
 Troy, MI 48084                              Public Employment, Elections &
 (248) 457-7000                              Tort Division
                                             P.O. Box 30736
                                             Lansing, MI 48909
                                             (517) 373-6434

 Tom R. Pabst (P27872)                       James K. Fett (P39461)
 Attorney for Defendant Anderson             Joshua Fields (P68559)
 2503 S. Linden Road, Suite 185              Fett & Fields
 Flint, MI 48532                             Attorneys for Defendant Spokojny
 (810) 732-8430                              804 E. Main Street
                                             Pinckney, MI 48169
                                             (734) 954-0100

                                                                        /

                      DEFENDANTS' MOTION TO DISMISS
                     PURSUANT TO FED. R. CIV. P. 12(B)(6)
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13           PageID.252     Page 2 of 17



       Defendants Deborah Greene and Marcia McBride (McBrien)1 (Defendants)

 move for dismissal of Plaintiff's First Amended Complaint pursuant to Fed. R. Civ.

 P. 12(b)(6) in lieu of an answer for the reason that Plaintiff’s Complaint fails to

 state a claim upon which relief may be granted.

       On March 11, 2013, counsel for Defendants contacted Plaintiff’s counsel for

 concurrence in this motion pursuant to E.D. MI L.R. 7.1(a). Such concurrence was

 denied.

                                RELIEF REQUESTED

       Defendants pray that this Court grant this motion and enter an Order

 dismissing Counts I and II of Plaintiff’s Amended Complaint with prejudice.

                                         Respectfully submitted,

                                         Bill Schuette
                                         Attorney General

                                         /s/ Brittany A. Campbell
                                         Brittany A. Campbell (P75152)
                                         Jeanmarie Miller (P44446)
                                         Assistant Attorneys General
                                         Attys for Defs. McBrien & Greene
                                         Public Employment, Elections & Tort Div.
                                         P.O. Box 30736
                                         Lansing, MI 48909
                                         (517) 373-6434
                                         Campbellb8@michigan.gov
 Dated: March 12, 2013                   P75152




 1Defendant Marcia McBrien was incorrectly named in Plaintiff’s First Amended
 Complaint as “Marcia McBride.”
                                       ii
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13    PageID.253   Page 3 of 17



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 MICHAEL A. GREENE,

       Plaintiff,
                                               No. 2:12-cv-13161
 v
                                               HON. DAVID M. LAWSON
 PAMELA ANDERSON, Individually and in
 her Official Capacity, SYLVIA JAMES,          MAG. R. STEVEN WHALEN
 DEBORAH GREENE, MARCIA McBRIDE
 [sic] and MILTON SPOKOJNY, Individually
 and Jointly and Severally,

       Defendants.

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 Troy, MI 48084                                Public Employment, Elections &
 (248) 457-7000                                Tort Division
                                               P.O. Box 30736
                                               Lansing, MI 48909
                                               (517) 373-6434

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 Attorney for Defendant Anderson               Joshua Fields (P68559)
 2503 S. Linden Road, Suite 185                Fett & Fields
 Flint, MI 48532                               Attorneys for Defendant Spokojny
 (810) 732-8430                                804 E. Main Street
                                               Pinckney, MI 48169
                                               (734) 954-0100

                                                                         /

               DEFENDANTS' BRIEF IN SUPPORT OF
       MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(6)
                                            
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13         PageID.254       Page 4 of 17




                  CONCISE STATEMENT OF ISSUES PRESENTED


   I.     Plaintiff has not plead sufficient involvement on the part of the
          Defendants to state a claim under 42 U.S.C. § 1983.

   II.    Plaintiff has failed to establish (1) facts necessary to state a claim of
          breach of implied contract and (2) any conduct by Defendants Greene and
          McBrien related to that alleged implied contract.

   III.   In the event all federal claims are dismissed, this Court should decline to
          exercise supplemental jurisdiction over Plaintiff’s state law claims
          pursuant to 28 U.S.C. 1367(c)(3).




                                           i
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13            PageID.255   Page 5 of 17



            CONTROLLING OR MOST APPROPRIATE AUTHORITY

 Authority:

 Bd. of Regents v. Roth, 408 U.S. 564; 92 S. Ct. 2701 (1972);

 Bishop v. Wood, 426 U.S. 341; 96 S. Ct. 2074 (1976);

 City of Chicago v. International College of Surgeons, 522 U.S. 156; 118 S. Ct. 523
 (1977);

 Davis v. Scherer, 468 U.S. 183; 104 S.Ct. 3012 (1984);

 Dean v. City of Bay City, 239 Fed. Appx. 107; 2007 WL 1427035 (6th Cir. 2007);

 Doe v. Washington, 21 F.3d 733 (6th Cir. 1994);

 Lanier v. Bryant, 332 F.3d 999 (6th Cir.2003);

 Matulewicz v. Governor of Michigan, 174 Mich. App 295; 435 N.W.2d 785 (1989);

 Skinner v. Unknown Grandson, Not Reported in F. Supp. 2d; 2009 WL 989635 (E.D.
 Mich. 2009);

 Thorin v. Bloomfield Hills Bd. of Education, 203 Mich. App. 692; 513 N.W.2d 230
 (1994);

 Toussaint v. Blue Cross & Blue Shield of Michigan, 408 Mich. 579; 292 N.W.2d 880
 (1980);

 Wood v. Strickland, 420 U.S. 308; 95 S. Ct. 992 (1975);

 Fed. R. Civ. P. 12(b)(6)
 42 U.S.C. § 1983
 28 U.S.C. 1367(c)(3)




                                           ii
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13          PageID.256    Page 6 of 17



                              STATEMENT OF FACTS

       Plaintiff Michael Greene (Greene) was employed as a court officer with the

 22nd District Court in Inkster, Michigan from approximately December 20, 1999 to

 February 9, 2011. (First Amended Complaint, ¶12, 24). In his Amended Complaint,

 Greene alleges that he was terminated from employment because he was charged

 with four felonies in connection with the unauthorized use of a court computer

 system. (Id. at ¶ 25). Defendants in the instant matter include, among others,

 Deborah Greene and Marcia McBrien (Defendants), who are employees of the State

 Court Administrator’s Office. At all times relevant to this matter, Defendant

 Deborah Greene was employed as the Region I Administrator for the State Court

 Administrator’s Office. Defendant Marcia McBrien was employed as the MSC

 Public Information Officer. In this capacity, she served as a liaison between the

 general public and the judicial branch. Neither Deborah Greene nor Marcia

 McBrien were employees of the 22nd District Court nor did they ever supervise

 Michael Greene.

       Greene claims Defendants are responsible for his discharge from employment

 with the 22nd District Court and further deprived him of his rights by failing to

 provide him with a “name clearing” hearing prior to his termination. (Id. at ¶¶34,

 41). Greene’s Amended Complaint names the above Defendants in their individual

 capacities. As to Defendants, he alleges violations of 42 U.S.C. § 1983 and wrongful

 discharge under a state law breach of implied contract theory. (Id. at ¶¶45-52). For

 the reasons set forth in more detail below, Defendants move for dismissal pursuant



                                           1
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13              PageID.257   Page 7 of 17



 to Fed. R. Civ. P 12(b)(6) as Plaintiff has failed to state a claim for which relief may

 be grated.

                         APPLICABLE LEGAL STANDARD

       A.     Standard of Review under Federal Rule of Civil
              Procedure 12(b)(6)

       Rule 12(b)(6) permits dismissal for failure to state a claim upon which relief

 can be granted. A plaintiff must show that the complaint “alleges a claim under

 federal law, and that the claim is substantial.” Michigan Southern R.R. Co. v.

 Branch & St Joseph Counties Rail Users Ass’n Inc., 287 F.3d 568, 573 (6th Cir.2002)

 (quoting Musson Theatrical Inc. v. Fed. Ex. Corp., 89 F.3d 1244, 1248 (6th Cir.

 1996)). The purpose of Rule 12(b)(6) is to allow a defendant to test whether, as a

 matter of law, the plaintiff is entitled to legal relief even if everything alleged in the

 complaint is true. Mayer v. Mylod, 988 F.2d 635, 638 (6th Cir. 1993). Where a

 plaintiff fails this test, the court should dismiss the claim.

                                      ARGUMENT

 I.    Greene has failed to identify conduct of Defendants that amounts to
       a deprivation of a protected liberty or property interest without due
       process of law. Thus, this Court should dismiss Count I of Greene’s
       Amended Complaint.

       In order to establish a viable § 1983 claim, a plaintiff must establish that (1)

 he was deprived of a right, privilege or immunity secured by the Federal

 Constitution or laws of the United States, and (2) the deprivation was caused by a

 person while acting under the color of state law. Doe v. Washington, 21 F.3d 733,

 738 (6th Cir. 1994).



                                             2
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13              PageID.258        Page 8 of 17



        Importantly, a plaintiff must establish each defendant’s personal

 responsibility for the claimed deprivation of a constitutional right: “A plaintiff must

 allege facts, not simply conclusions, that show that an individual was personally

 involved in the deprivation of his civil rights. Skinner v. Unknown Grandson, Not

 Reported in F. Supp. 2d, 2009 WL 909635 at *8 (E.D. Mich. 2009) (quoting Barren v.

 Harrington, 152 F.3d 1193, 1194 (9th Cir.1998)) (per curiam) (emphasis added)2.

 Liability under § 1983 must be based on the personal involvement of the

 defendant.” Id. Further, the constitutional rights at issue must be clearly

 established when the alleged §1983 violation took place. Davis v. Scherer, 468 U.S.

 183, 104 S. Ct. 3012 (1984).

        A.     Greene has failed to allege deprivation of a protected liberty or
               property interest without due process of law.

        In order to determine whether a valid procedural due process claim exists, a

 two-part analysis must take place: the court must first determine whether the

 individual interest asserted is encompassed within the Fourteenth Amendment’s

 protection of ‘life, liberty, or property.’ If one of the protected interests is

 implicated, then the court must determine what procedures involved constitute ‘due

 process of law.’ Bd. Of Regents v. Roth, 408 U.S. 564, 569-72; 92 S. Ct. 2701 (1972).

        Greene alleges a constitutionally protected interest in “his reputation and his

 opportunity to pursue future employment.” (First Amended Complaint, ¶ 41). He

 further alleges that Defendants deprived him of the above interests by “terminating



 2Pursuant to L.R. 5.1 and 7.1, a full-text copy of the unpublished opinion in Skinner
 has been produced for reference as Exhibit 1.
                                              3
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13         PageID.259      Page 9 of 17



 him without a name clearing hearing or other notice,” and that such actions violate

 his due process rights under the Fourteenth Amendment. (Id. at ¶ 42).

       Courts have recognized that an adverse public employment decision may

 trigger liberty interests where the employer publishes the reasons for the discharge.

 See Bishop v. Wood, 426 U.S. 341, 348; 96 S. Ct. 2074 (1976); Martin v. City of

 Glasgow, KY, 882 F. Supp. 2d 903 (W.D. KY., 2012) (holding that in certain cases, a

 person's good name or reputation may implicate a liberty interest protected by the

 due process clause of the Fourteenth Amendment). In this case, Greene has not

 alleged that Defendants published any information about adverse employment

 action related that would impact his reputation or opportunity to obtain future

 employment.

       Greene also asserts that he has a constitutionally protected property interest

 in continued employment. (First Amended Complaint, ¶ 31). Courts have

 recognized that a plaintiff may have a property interest in continued employment

 and that employees who may be terminated only upon a finding of “just cause” have

 a property interest in continued employment that may form the basis of a

 procedural due process claim. See Cleveland Bd. of Educ. v. Loudermill, 470 U.S.

 532, 538-39, 542-43 (1985).

       In his Amended Complaint, Greene alleges that (1) he was an employee of the

 22nd District Court, (2) allegations were made against him related to the

 unauthorized use of a computer system, (3) he was suspended from employment

 because felony charges were brought against him related to such unauthorized



                                           4
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13          PageID.260    Page 10 of 17



 computer usage, and (4) he was ultimately terminated from his position as a court

 officer. (First Amended Complaint, ¶¶ 12, 20, 24-25).

       Greene makes no reference whatsoever to specific oral or written statements,

 understandings, or custom from which an inference may be made that he could only

 be terminated upon a finding of just cause. Therefore, he has not affirmatively

 established that he had a property interest in continued employment with the 22nd

 District Court.

       B.     Greene has not provided facts to establish Defendants’
              personal responsibility for his claimed deprivation of
              constitutional rights.

       As to his claims against Defendants Greene and McBrien, Greene alleges

 broad conclusions as opposed to specific facts to show that Defendants were

 personally involved in the deprivation of his civil rights. See Skinner, supra, at *8.

 Simply put, even assuming that Greene did have a protected interest in continued

 employment, he has not provided any facts to identify Defendants Greene and

 McBrien as responsible for the unconstitutional deprivation of his interests.

 Rather, Greene’s allegations with regard to his alleged constitutional deprivation

 are generalized, ambiguous, and directed at all “Defendants”. (First Amended

 Complaint, ¶ 41, 42).

       For example, in his First Amended Complaint, Greene vaguely claims that

 “Defendants” acted to deprive him of a constitutionally protected interest in

 continued employment without a pre-termination hearing or opportunity to

 respond. (First Amended Complaint, ¶ 33). It is not clear from the allegations of

 Greene’s Amended Complaint how, if at all, Defendants Greene and McBrien
                                            5
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13           PageID.261    Page 11 of 17



 violated his constitutionally protected rights, or that they knew, or should have

 known, that their actions would violate those rights. See Wood v. Strickland, 420

 U.S. 308, 322; 95 S. Ct. 992 (1975).

          Greene has only pled generalized conclusions, as opposed to specific facts, to

 prove that Defendants Greene and McBrien were personally involved in any alleged

 deprivation of his rights. Conclusory, unsupported allegations are insufficient to

 state a claim under § 1983. See Lanier v. Bryant, 332 F. 3d 999, 1007 (6th Cir.

 2003).

          Neither Defendant Greene nor Defendant McBrien serve as Greene’s

 immediate supervisor, and neither was in direct contact with him on a daily basis at

 his job as a court officer. In fact, neither Greene nor McBrien even work at the 22nd

 District Court. As noted above, Defendants Greene and McBrien are employed by

 the State Court Administrative Office and are completely separated from Plaintiff’s

 day-to-day employment. Defendant Greene is the SCAO Region I Administrator,

 and Marcia McBrien is the MSC Public Information Officer who serves as the

 Liaison between the general public and the judicial branch. Any contact that either

 Defendant Greene or McBrien may have had with Plaintiff Greene was indirectly

 connected to his dismissal from the 22nd District Court. He has provided no

 evidence to the contrary.

          Greene has failed to identify any conduct on the part of Defendants Greene or

 McBrien as causing a deprivation of rights. Accordingly, this Court should dismiss




                                              6
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13           PageID.262    Page 12 of 17



 count I of Greene’s Amended Complaint with prejudice as against Defendants

 Greene and McBrien pursuant to Fed. R. Civ. P. 12(b)(6).

 II.   Plaintiff has failed to establish (1) facts necessary to state a claim of
       breach of implied contract and (2) any conduct by Defendants
       Greene and McBrien related to that alleged implied contract.

       Count II of Greene’s Complaint should be dismissed because (1) Greene has

 failed to plead facts that support his claims that he had a valid contract, either

 express or implied, and (2) Greene has provided no facts related to Defendants

 Greene and McBrien to serve as the basis for an implied contract with the 22nd

 District Court.

       A Plaintiff can prove that he may only be terminated upon “just cause” by

 three means: “(1) proof of a ‘contractual provision for a definite term of employment

 or a provision forbidding discharge absent just cause;’ (2) an express agreement,

 either written or oral, regarding job security that is clear and unequivocal; or (3) a

 contractual provision, implied at law, where an employer's policies and procedures

 instill a ‘legitimate expectation’ of job security in the employee.” Dean v. City of Bay

 City, 239 Fed.Appx.107, 112-113; 2007 WL 1427035 (6th Cir.2007). Count II of

 Greene’s Amended Complaint specifically alleges that the practices and procedures

 of the 22nd District Court constituted an “implied contract of employment between

 Plaintiff and the 22nd District Court.” (First Amended Complaint, ¶ 49).




                                            7
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13          PageID.263    Page 13 of 17



       A.     Greene has not established that he had a contract of
              employment with the 22nd District Court and could only be
              terminated upon a finding of just cause.

       Greene claims that he relied on certain policies, procedures, and practices of

 the Court, which provided that employees could not be terminated without good or

 just cause. Id. at ¶ 48. He further asserts that the Court had a practice of not

 terminating employees without good or just cause. Id. at ¶ 46.

       Greene’s implied breach of contract claim is based on the theory elaborated

 by the Michigan Supreme Court in Toussaint v. Blue Cross & Blue Shield of

 Michigan, 408 Mich. 579, 292 N.W.2d 880 (1980). The court in Toussaint

 determined that employers may have an implied contractual obligation not to

 discharge an employee without just cause because of representations made in an

 employment agreement or because of the employee’s legitimate expectations

 resulting from the employer’s policies. Id.

       Courts have struggled with Toussaint’s application with regard to public

 employees. See Matulewicz v. Governor of Michigan, 174 Mich. App. 295, 435

 N.W.2d 785 (1989), (Court distinguished between private and public employment,

 upholding the trial court’s dismissal of plaintiff’s claim for impairment of

 employment contracts as “disturbingly vague” and finding that the plaintiff failed to

 allege with particularity the extent to which the contracts were impaired).

       In Thorin v. Bloomfield Hills Bd. of Education, 203 Mich. App. 692; 700-01,

 513 N.W.2d 230 (1994), the court found that Toussaint was intended to apply to

 public employees, but that “a public employee cannot claim an implied contract

 where it violates the controlling body’s statutory authority.”
                                            8
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13          PageID.264    Page 14 of 17



       Greene has failed to point to any contractual provision for a definite term of

 employment, nor any policies or procedures that instill a legitimate expectation of

 job security with the 22nd District Court that could be regarded as “unequivocal”

 proof of just cause. Dean, 239 Fed. Appx. 107 at 112. The First Amended

 Complaint merely provides a single allegation regarding an alleged oral assertion

 made by Defendant James. (First Amended Complaint, ¶ 46). This single,

 generalized statement is insufficient to serve as the basis for a “legitimate

 expectation of job security.” Dean, 239 Fed. Appx. 107 at 112.

       B.     Greene has failed to allege any facts that connect Defendants
              Greene and McBrien to Plaintiff’s alleged implied contract of
              employment.

       Greene’s First Amended Complaint indicates that he relied on the “policies,

 practices, and procedures of the Defendants which provided that employees would

 not be terminated without good or just cause.” Id. at ¶ 48. The 22nd District Court

 is no longer a defendant in this matter, yet the “policies, practices, and procedures”

 alleged in the Amended Complaint are those of the 22nd District Court, and not

 those of any individual Defendant. These are the policies upon which Greene relies

 as a basis for his implied contract of employment: “The aforementioned policies,

 practices, and procedures constituted an implied contract of employment between

 Plaintiff and the 22nd District Court.” (First Amended Complaint, ¶ 49).

       In his Amended Complaint, Greene makes no allegations about statements,

 oral or written, by Defendants Greene or McBrien that could serve as a basis for an

 implied contract of employment. Yet, Count II of the Amended Complaint seeks

 relief against Defendants Anderson, James, Greene, and McBrien. As described in
                                            9
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13          PageID.265    Page 15 of 17



 detail above, Defendants Greene and McBrien are employed by the State Court

 Administrative Office, not the 22nd District Court, and do not have direct

 supervisory authority over Greene, who was a court officer or that Defendants

 Greene and McBrien had any ability to bind the 22nd District Court to any

 employment contract assuming one even existed. Greene has not alleged any facts

 to connect Defendant Deborah Greene, SCAO Region I Administrator, and Marcia

 McBrien, an MSC Public Information Officer, to Count II of the Amended

 Complaint. Thus, Greene’s breach of contract claim against Defendants Greene and

 McBrien should be dismissed.

 III.   This Court should decline to exercise supplemental jurisdiction over
        Plaintiff’s state law claims pursuant to 28 U.S.C. 1367(c)(3).

        28 U.S.C. § 1367(c)(3) provides that "[t]he district court may decline to

 exercise supplemental jurisdiction over a claim under subsection (a) if – the district

 court has dismissed all claims over which it has original jurisdiction." In the event

 that this Court dismisses all federal claims against all parties, the Court should, in

 accordance with 28 U.S.C. § 1367(c)(3), decline to exercise supplemental jurisdiction

 over Greene’s remaining state law claims.

        A decision to decline supplemental jurisdiction is a matter within the broad

 discretion of this Court. City of Chicago v. International College of Surgeons, 522

 U.S. 156, 172; 118 S. Ct. 523; 139 L. Ed. 2d 525 (1977). A court should consider a

 variety of factors when determining whether to exercise supplemental jurisdiction,

 however, "including the circumstances of the particular case, the nature of the state




                                           10
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13           PageID.266   Page 16 of 17



 law claims, the character of the governing state law, and the relationship between

 the state and federal claims." City of Chicago, 522 U.S. at 173.

       Moreover, "'a federal court should consider and weigh in each case, and at

 every stage of litigation, the values of judicial economy, convenience, fairness, and

 comity.'" City of Chicago, 522 U.S. at 173 (quoting Carnegie-Mellon Univ v. Cohill,

 484 U.S. 343, 357; 108 S. Ct. 614, 98 L. Ed. 2d 720 (1988)). "In the usual case in

 which all federal-law claims are eliminated before trial, the balance of factors to be

 considered under the pendent jurisdiction doctrine – judicial economy, convenience,

 fairness, and comity – will point toward declining to exercise jurisdiction over the

 remaining state-law claims." Cohill, 484 U.S. at 350 fn. 7.

       If this Court dismisses the federal claim, but retains the state law claim, it

 should decline to exercise supplemental jurisdiction and dismiss the remainder of

 Greene’s complaint.




                                           11
Case 2:12-cv-13161-DML-RSW ECF No. 37 filed 03/12/13         PageID.267    Page 17 of 17



                         CONCLUSION AND RELIEF SOUGHT

       Defendants, therefore, pray that this Court grants this motion and enters an

 Order dismissing Counts I and II of the Amended Complaint with prejudice.

                                        Respectfully submitted,

                                        Bill Schuette
                                        Attorney General

                                        /s/ Brittany A. Campbell
                                        Brittany A. Campbell (P75152)
                                        Jeanmarie Miller (P44446)
                                        Assistant Attorneys General
                                        Attys for Defs. McBrien & Greene
                                        Public Employment, Elections & Tort Div.
                                        P.O. Box 30736
                                        Lansing, MI 48909
                                        (517) 373-6434
                                        campbellb8@michigan.gov
 Dated: March 12, 2013                  P75152

                            CERTIFICATE OF SERVICE

 I hereby certify that on March 12, 2013 I electronically filed the foregoing paper
 with the Clerk of the Court using the ECF system which will send notification of
 such.

                                  /s/ Brittany A. Campbell
                                  Brittany A. Campbell (P75152)
                                  Attorney for Defendant
                                  campbellb8@michigan.gov
                                  P75152




                                          12
